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                                                                  APPEAL,CAP,CAT B,CLOSED
                             U.S. District Court
                  District of Columbia (Washington, DC)
           CRIMINAL DOCKET FOR CASE #: 1:21−cr−00003−RCL−1

Case title: USA v. CHANSLEY

Magistrate judge case number: 1:21−mj−00018−GMH *SEALED*

Date Filed: 01/11/2021

Assigned to: Judge Royce C.
Lamberth

Defendant (1)
JACOB ANTHONY                    represented by John M. Pierce
CHANSLEY                                        PIERCE BAINBRIDGE P.C.
also known as                                   355 South Grand Ave., 44th Floor
JAKE ANGELI                                     Los Angeles, CA 90071
also known as                                   (213) 400−7125
JACOB ANGELI                                    Email: jpierce@piercebainbridge.com
                                                LEAD ATTORNEY
                                                ATTORNEY TO BE NOTICED
                                                Designation: Retained

                                               Albert S Watkins
                                               KODNER WATKINS, LC
                                               7733 Forsyth Boulevard
                                               Suite 600
                                               Clayton, MO 63105
                                               314−727−9111
                                               Fax: 314−727−9110
                                               Email: albertswatkins@kwklaw.net
                                               TERMINATED: 11/29/2021
                                               Designation: Retained

Pending Counts                                 Disposition
18:231(a)(3); CIVIL DISORDER;
Civil Disorder                                 Dismissed
(1)
18:1512(c)(2); TAMPERING                       Defendant sentenced to the custody of the Bureau of
WITH A WITNESS, VICTIM OR                      Prisons for a term 41 months with credit for time
INFORMANT; Obstruction of an                   served. Defendant further sentenced to serve a 36
Official Proceeding                            month term of supervised release. Defendant further
(2)                                            ordered to pay a $100 special assessment.
18:1752(a)(1); TEMPORARY                       Dismissed
RESIDENCE OF THE

                                                                                                     1
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PRESIDENT; Entering and
Remaining in a Restricted
Building
(3)
18:1752(a)(2); TEMPORARY
RESIDENCE OF THE
PRESIDENT; Disorderly and
                                            Dismissed
Disruptive Conduct in a Restricted
Building
(4)
40:5104(e)(2)(A); FEDERAL
STATUTES, OTHER; Violent
Entry and Disorderly Conduct in a           Dismissed
Capitol Building
(5)
40:5104(e)(2)(G); FEDERAL
STATUTES, OTHER; Parading,
Demonstrating, or Picketing in a            Dismissed
Capitol Building
(6)

Highest Offense Level
(Opening)
Felony

Terminated Counts                           Disposition
None

Highest Offense Level
(Terminated)
None

Complaints                                  Disposition
COMPLAINT in VIOLATION of
18 U.S.C. 1752(a)(1) and (2); 40
U.S.C. 5104(e)(2)(A) and (G)



Movant
DON HAMRICK
322 Rouse Street
Kensett, AR 72082



Plaintiff


                                                                           2
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USA                                          represented by Kimberly Louise Paschall
                                                            U.S. ATTORNEY'S OFFICE
                                                            555 Fourth Street, NW
                                                            Washington, DC 20530
                                                            (202) 252−2650
                                                            Email: kimberly.paschall@usdoj.gov
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Assistant U.S. Attorney

Date Filed   #    Page Docket Text
01/08/2021    1        SEALED COMPLAINT as to JACOB ANTHONY CHANSLEY (1).
                       (Attachments: # 1 Statement of Facts) (zltp) [1:21−mj−00018−GMH
                       *SEALED*] (Entered: 01/08/2021)
01/09/2021             Arrest of JACOB ANTHONY CHANSLEY in US District Court for the
                       District of Arizona− Phoenix. (bb) (Entered: 02/16/2021)
01/11/2021    3        INDICTMENT as to JACOB ANTHONY CHANSLEY (1) count(s) 1, 2, 3, 4,
                       5, 6. (bb) (Entered: 01/12/2021)
01/12/2021             Case unsealed as to JACOB ANTHONY CHANSLEY. (ztnr) (Entered:
                       01/12/2021)
01/19/2021   11        Rule 5(c)(3) Documents Received as to JACOB ANTHONY CHANSLEY
                       from US District Court for the District of Arizona− Phoenix Case Number
                       21−mj−5000 (bb) (Entered: 02/16/2021)
01/28/2021             MINUTE ORDER as to JACOB ANTHONY CHANSLEY: Arraignment set
                       for 1/29/2021 at 02:30 PM before Judge Royce C. Lamberth. The hearing will
                       proceed by videoconferencing for the parties and by telephone for members of
                       the public. Pursuant to Standing Order 20−20 (BAH), the Court will provide
                       public access to the Arraignment. It is hereby ORDERED that the participants
                       using the public access telephone line shall adhere to the rules set forth in
                       Standing Order 20−20 (BAH), available on the Court's website.Toll Free
                       Number: 888−636−3807; Access Code: 6967853. Signed by Judge Royce C.
                       Lamberth on 1/28/2021. (lcrcl3) (Entered: 01/28/2021)
01/29/2021             Minute Entry for video Arraignment held before Judge Royce C. Lamberth as
                       to JACOB ANTHONY CHANSLEY on 1/29/2021. Defendant arraigned on
                       Counts 1,2,3,4,5 and 6 of the Indictment and enters of Plea of Not Guilty as to
                       all Counts. Defendant further waives the formal reading of the Indictment.
                       Status Conference set for 3/5/2021 at 10:00 AM by VTC before Judge Royce
                       C. Lamberth. The Court finds it in the interest of justice to toll the speedy trial
                       clock from 1/29/2021 through 3/5/2021. Bond Status of Defendant: remains
                       committed. Court Reporter: Cathryn Jones; Defense Attorney: Albert Watkins;
                       US Attorney: Kimberly Paschall; Pretrial Officer: DaShanta Valentine−Lewis.
                       (lsj) (Entered: 01/29/2021)
02/03/2021    5        NOTICE OF ATTORNEY APPEARANCE: Albert S Watkins appearing for
                       JACOB ANTHONY CHANSLEY (bb) (Entered: 02/03/2021)
02/03/2021    6        Emergency MOTION for Sustenance or in the Alternative, For Pre−Trial
                       Release by JACOB ANTHONY CHANSLEY. (Attachments: # 1 Exhibit A, #

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                    2 Exhibit B)(bb) (Entered: 02/03/2021)
02/03/2021    7     Memorandum in Opposition by USA as to JACOB ANTHONY CHANSLEY
                    re 6 MOTION Sustenance or in the Alternative, For Pre−Trial Release
                    (Attachments: # 1 Exhibit Order of Detention)(Paschall, Kimberly) (Entered:
                    02/03/2021)
02/03/2021          MINUTE ORDER as to JACOB ANTHONY CHANSLEY: Hearing on
                    defendant's Motion 6 for Sustenance or, in the alternative, for Pre−Trial
                    Release set for 2/3/2021 at 03:30 PM before Judge Royce C. Lamberth. The
                    hearing will proceed by videoconferencing for the parties and by telephone for
                    members of the public. Pursuant to Standing Order 20−20 (BAH), the Court
                    will provide public access to the hearing. It is hereby ORDERED that the
                    participants using the public access telephone line shall adhere to the rules set
                    forth in Standing Order 20−20 (BAH), available on the Court's website.Toll
                    Free Number: 888−636−3807; Access Code: 6967853. Signed by Judge Royce
                    C. Lamberth on 2/3/2021. (lcrcl3) (Entered: 02/03/2021)
02/03/2021          Minute Entry for proceedings held before Judge Royce C. Lamberth: Motion
                    Hearing as to JACOB ANTHONY CHANSLEY (1) held on 2/3/2021 re 6
                    MOTION Sustenance or in the Alternative, For Pre−Trial Release filed by
                    JACOB ANTHONY CHANSLEY. Oral arguments heard. Order forthcoming.
                    Bond Status of Defendant: remains COMMITTED/appeared via video; Court
                    Reporter: Nancy Meyers; Defense Attorney: Albert S Watkins; US Attorney:
                    Kimberly Louise Paschall; Pretrial Officer: Andre Sidbury;Witnesses: Albert
                    Watkins, Stephanie Litos, and Eric Glover. (nbn) (Entered: 02/03/2021)
02/03/2021    8     MEMORANDUM ORDER granting 6 Motion for religious accommodation as
                    to JACOB ANTHONY CHANSLEY (1). Signed by Judge Royce C. Lamberth
                    on 2/3/2021. (lcrcl3) (Entered: 02/03/2021)
02/04/2021    9     MEMORANDUM as to JACOB ANTHONY CHANSLEY. Signed by Judge
                    Royce C. Lamberth on 2/4/2021. (lcrcl3) (Entered: 02/04/2021)
02/09/2021   10     TRANSCRIPT OF PROCEEDINGS in case as to JACOB ANTHONY
                    CHANSLEY before Judge Royce C. Lamberth held on 02/03/2021. Page
                    Numbers: 1−20. Date of Issuance: 02/04/2021. Court Reporter: Nancy J.
                    Meyer. Telephone Number: 202−354−3118. Tape Number: N/A. Transcripts
                    may be ordered by submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.

                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have 21 days
                    to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will
                    be made available to the public via PACER without redaction after 90 days.
                    The policy, which includes the five personal identifiers specifically covered, is
                    located on our website at www.dcd.uscourts.gov.




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                    Redaction Request due 3/2/2021. Redacted Transcript Deadline set for
                    3/12/2021. Release of Transcript Restriction set for 5/10/2021.(Meyer, Nancy)
                    (Entered: 02/09/2021)
02/23/2021   12     MOTION for Release from Custody for Pretrial Release by JACOB
                    ANTHONY CHANSLEY. (Watkins, Albert) (Entered: 02/23/2021)
02/24/2021   13     NOTICE of Hearing on Motion for Pretrial Release by JACOB ANTHONY
                    CHANSLEY (Watkins, Albert) (Entered: 02/24/2021)
02/24/2021   14     ORDER as to JACOB ANTHONY CHANSLEY: The government is hereby
                    directed to respond to defendant's motion 12 for pre−trial release by 3/1/2021.
                    Any reply shall be filed no later than 2:00 PM on 3/4/2021. Signed by Judge
                    Royce C. Lamberth on 2/24/2021. (lcrcl3) (Entered: 02/24/2021)
02/26/2021          MINUTE ORDER as to JACOB ANTHONY CHANSLEY. In order to
                    accommodate the Alexandria Detention Center, the Status
                    Conference/Detention Hearing set for 3/5/2021 at 10:00 AM before Judge
                    Royce C. Lamberth is hereby rescheduled to 3/5/2021 at 03:00 PM. The
                    hearing will proceed by videoconferencing for the parties and by telephone for
                    members of the public. Pursuant to Standing Order 20−20 (BAH), the Court
                    will provide public access to the hearing. It is hereby ORDERED that the
                    participants using the public access telephone line shall adhere to the rules set
                    forth in Standing Order 20−20 (BAH), available on the Court's website.Toll
                    Free Number: 888−636−3807; Access Code: 6967853. Signed by Judge Royce
                    C. Lamberth on 2/26/2021. (lcrcl3) (Entered: 02/26/2021)
02/27/2021   15     ENTERED IN ERROR.....MOTION for Discovery Letter to AUSA by JACOB
                    ANTHONY CHANSLEY. (Watkins, Albert) Modified on 3/1/2021 (zhsj).
                    (Entered: 02/27/2021)
02/27/2021          NOTICE OF CORRECTED DOCKET ENTRY: as to JACOB ANTHONY
                    CHANSLEY re 15 MOTION for Discovery Letter to AUSA was entered in
                    error and counsel was instructed to refile said pleading. Document is to be
                    filed as a Notice of Filing with this letter as an attachment. (zhsj) (Entered:
                    03/01/2021)
03/01/2021   16     NOTICE of Filing by JACOB ANTHONY CHANSLEY (Watkins, Albert)
                    (Entered: 03/01/2021)
03/01/2021   17     Memorandum in Opposition by USA as to JACOB ANTHONY CHANSLEY
                    re 12 MOTION for Release from Custody for Pretrial Release (Paschall,
                    Kimberly) (Entered: 03/01/2021)
03/04/2021   18     REPLY TO OPPOSITION to Motion by JACOB ANTHONY CHANSLEY re
                    12 MOTION for Release from Custody for Pretrial Release (Watkins, Albert)
                    (Entered: 03/04/2021)
03/05/2021          Minute Entry for video Motion (Detention) Hearing held before Judge Royce
                    C. Lamberth as to JACOB ANTHONY CHANSLEY on 3/5/2021. Oral
                    arguments submitted on Defendant's Motion 12 for Release from Custody for
                    Pretrial Release. Motion taken under advisement; forthcoming Order. Bond
                    Status of Defendant: remains committed. Court Reporter: Nancy Meyer;
                    Defense Attorney: Albert S. Watkins; US Attorney: Kimberly Louise Paschall.
                    (lsj) (Entered: 03/05/2021)


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03/05/2021   19     ORDER as to JACOB ANTHONY CHANSLEY: The Clerk of Court is hereby
                    directed to file the attached document on the docket for this case. Signed by
                    Judge Royce C. Lamberth on 3/5/2021. (Attachments: # 1) (lcrcl3) (Entered:
                    03/05/2021)
03/05/2021   20     ENTERED IN ERROR..... MOTION for Protective Order by USA as to
                    JACOB ANTHONY CHANSLEY. (Attachments: # 1 Text of Proposed Order
                    Protective Order for Sensitive Materials re Capitol Investigation)(Paschall,
                    Kimberly) Modified on 3/20/2021 (bb). (Entered: 03/05/2021)
03/05/2021   21     MOTION for Protective Order by USA as to JACOB ANTHONY
                    CHANSLEY. (Attachments: # 1 Text of Proposed Order Protective Order for
                    Sensitive Materials re Capitol Investigation)(Paschall, Kimberly) (Entered:
                    03/05/2021)
03/05/2021   22     RESPONSE by JACOB ANTHONY CHANSLEY re 20 MOTION for
                    Protective Order , 21 MOTION for Protective Order Consent (Watkins, Albert)
                    (Entered: 03/05/2021)
03/05/2021   23     SURREPLY by USA as to JACOB ANTHONY CHANSLEY re 12 MOTION
                    for Release from Custody for Pretrial Release (Paschall, Kimberly) Modified
                    event title on 3/22/2021 (znmw). (Entered: 03/05/2021)
03/05/2021          NOTICE OF CORRECTED DOCKET ENTRY: as to JACOB ANTHONY
                    CHANSLEY re 20 MOTION for Protective Order was entered in error and
                    counsel was instructed to refile said pleading. The corrected document is filed
                    at DE #21. (bb) (Entered: 03/20/2021)
03/08/2021   24     ORDER granting 21 Motion for Protective Order as to JACOB ANTHONY
                    CHANSLEY (1). Signed by Judge Royce C. Lamberth on 3/8/2021. (lcrcl3)
                    (Entered: 03/08/2021)
03/08/2021   25     MEMORANDUM OPINION as to JACOB ANTHONY CHANSLEY. Signed
                    by Judge Royce C. Lamberth on 3/8/2021. (lcrcl3) (Entered: 03/08/2021)
03/08/2021   26     ORDER denying 12 Motion for Release from Custody as to JACOB
                    ANTHONY CHANSLEY. Signed by Judge Royce C. Lamberth on 3/8/2021.
                    (lcrcl3) (Entered: 03/08/2021)
03/08/2021   27     ORDER to Show Cause. The Government shall respond no later than
                    3/15/2021. Signed by Judge Royce C. Lamberth on 3/8/2021. (lcrcl3) (Entered:
                    03/08/2021)
03/10/2021   28     TRANSCRIPT OF PROCEEDINGS in case as to JACOB ANTHONY
                    CHANSLEY before Judge Royce C. Lamberth held on 03/05/2021. Page
                    Numbers: 1−37. Date of Issuance: 03/08/2021. Court Reporter: Nancy J.
                    Meyer. Telephone Number: 202−354−3118. Transcripts may be ordered by
                    submitting the Transcript Order Form

                    For the first 90 days after this filing date, the transcript may be viewed at the
                    courthouse at a public terminal or purchased from the court reporter referenced
                    above. After 90 days, the transcript may be accessed via PACER. Other
                    transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                    from the court reporter.



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                    NOTICE RE REDACTION OF TRANSCRIPTS: The parties have 21 days
                    to file with the court and the court reporter any request to redact personal
                    identifiers from this transcript. If no such requests are filed, the transcript will
                    be made available to the public via PACER without redaction after 90 days.
                    The policy, which includes the five personal identifiers specifically covered, is
                    located on our website at www.dcd.uscourts.gov.

                    Redaction Request due 3/31/2021. Redacted Transcript Deadline set for
                    4/10/2021. Release of Transcript Restriction set for 6/8/2021.(Meyer, Nancy)
                    (Entered: 03/10/2021)
03/15/2021   29     RESPONSE TO ORDER TO SHOW CAUSE by USA as to JACOB
                    ANTHONY CHANSLEY (Paschall, Kimberly) (Entered: 03/15/2021)
03/15/2021   30     ORDER as to JACOB ANTHONY CHANSLEY: In light of the government's
                    response 29 to the Court's Order 27 to Show Cause, the Clerk of Court is
                    hereby directed to post the two video Exhibits referenced in the Court's
                    Memorandum Opinion 25 denying defendant's motion 12 for pre−trial release
                    on the Court's website in a location accessible by members of the public.
                    Signed by Judge Royce C. Lamberth on 3/15/2021. (lcrcl3) (Entered:
                    03/15/2021)
03/17/2021   31     MOTION to Continue and Exclude Time under The Speedy Trial Act by USA
                    as to JACOB ANTHONY CHANSLEY. (Paschall, Kimberly) (Entered:
                    03/17/2021)
03/17/2021   33     MOTION to Exclude Time Under the Speedy Trial Act by USA as to JACOB
                    ANTHONY CHANSLEY. (See DE 31 to view document). (bb) (Entered:
                    03/20/2021)
03/19/2021   32     RESPONSE by JACOB ANTHONY CHANSLEY re 31 MOTION to
                    Continue and Exclude Time under The Speedy Trial Act (Watkins, Albert)
                    (Entered: 03/19/2021)
03/19/2021          MINUTE ORDER as to JACOB ANTHONY CHANSLEY: Status Conference
                    set for 5/21/2021 at 10:00 AM in Telephonic/VTC before Judge Royce C.
                    Lamberth. The Court accepts defendant's waiver of the period from March 5,
                    2021 through May 21, 2021, inclusive, from the Speedy Trial Act calculation,
                    as noted in defendant's response 32 to the government's motion 31 to continue
                    and exclude time. Signed by Judge Royce C. Lamberth on 3/19/2021. (lcrcl3)
                    (Entered: 03/19/2021)
03/30/2021   34     LEAVE TO FILE DENIED− Amicus Brief filed by Don Hamrick as to
                    JACOB ANTHONY CHANSLEY This document is unavailable as the Court
                    denied its filing. "Leave to file Denied. This requires a motion for leave to file
                    that is served on the U.S. Attorney and counsel for the defendant so they may
                    consent or oppose". Signed by Judge Royce C. Lamberth on 3/30/2021. (bb)
                    (Entered: 04/06/2021)
04/22/2021   35     MOTION for Order Disclose 6(e) and Sealed Materials by USA as to JACOB
                    ANTHONY CHANSLEY. (Paschall, Kimberly) (Entered: 04/22/2021)
04/22/2021   36     MOTION for Order Disclose 6(e) and Sealed Materials by USA as to JACOB
                    ANTHONY CHANSLEY. (Paschall, Kimberly) (Entered: 04/22/2021)



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04/27/2021          MINUTE ORDER as to JACOB ANTHONY CHANSLEY: To accommodate
                    the Jail, the status conference set for 5/21/2021 at 10:00 AM is hereby
                    VACATED and rescheduled to 5/21/2021 at 12:00 PM in Telephonic/VTC
                    before Judge Royce C. Lamberth. Signed by Judge Royce C. Lamberth on
                    4/27/2021. (lcrcl3) (Entered: 04/27/2021)
04/27/2021   37     ORDER granting 36 Motion to disclose items protected by Federal Rule of
                    Civil Procedure 6(e) as to JACOB ANTHONY CHANSLEY. Signed by Judge
                    Royce C. Lamberth on 4/27/2021. (lcrcl3) (Entered: 04/27/2021)
05/20/2021   38     NOTICE of Discovery by USA as to JACOB ANTHONY CHANSLEY
                    (Attachments: # 1 Notice to Counsel/Party Discovery Letter #1)(Paschall,
                    Kimberly) (Entered: 05/20/2021)
05/21/2021   39     ORDER as to JACOB ANTHONY CHANSLEY directing that a psychological
                    examination be conducted. Signed by Judge Royce C. Lamberth on 5/21/2021.
                    (lcrcl3) (Entered: 05/21/2021)
05/21/2021          Minute Entry for proceedings held before Judge Royce C. Lamberth: Status
                    Conference as to JACOB ANTHONY CHANSLEY (1) held on 5/21/2021.
                    Oral motion by Defense for a Psychological Examination of the defendant,
                    HEARD and GRANTED. The Court also finds that beginning May 21, 2021,
                    and until further ORDER of the Court, Speedy Trial calculation is excluded for
                    Competency/Capacity Examination (XA). Excludable started as to JACOB
                    ANTHONY CHANSLEY (1). Bond Status of Defendant: remains
                    COMMITTED/appeared via video; Court Reporter: Lorraine Herman; Defense
                    Attorney: Albert Watkins; US Attorney: Kim Paschall. (nbn) (Entered:
                    05/21/2021)
05/26/2021   40     MOTION for Release from Custody by JACOB ANTHONY CHANSLEY.
                    (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, #
                    6 Exhibit)(Watkins, Albert) (Entered: 05/26/2021)
05/26/2021   41     MOTION for Leave to File Amicus Curiae Brief re JACOB ANTHONY
                    CHANSLEY by DON HAMRICK. "Let this be filed as a Motion for Leave to
                    File Amicus Curiae Brief" by Judge Royce C. Lamberth on 5/26/2021. (bb)
                    (Entered: 05/26/2021)
05/26/2021   43     MOTION to Reopen Detention Hearing by JACOB ANTHONY CHANSLEY.
                    (See Docket Entry 40 to view document). (znmw) (Entered: 06/03/2021)
05/27/2021   42     ORDER as to JACOB ANTHONY CHANSLEY: The Government shall
                    respond to Defendant's motion 40 to reopen the detention hearing and for
                    pre−trial release by 6/4/2021. Any reply shall be filed by 6/11/2021. Signed by
                    Judge Royce C. Lamberth on 5/27/2021. (lcrcl3) (Entered: 05/27/2021)
05/27/2021          Set/Reset Deadlines as to JACOB ANTHONY CHANSLEY: Responses due
                    by 6/4/2021. Replies due by 6/11/2021. (nbn) (Entered: 05/28/2021)
06/04/2021   44     Memorandum in Opposition by USA as to JACOB ANTHONY CHANSLEY
                    re 40 MOTION for Release from Custody (Paschall, Kimberly) (Entered:
                    06/04/2021)
06/07/2021   45     STATUS REPORT by USA as to JACOB ANTHONY CHANSLEY (Paschall,
                    Kimberly) (Entered: 06/07/2021)


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06/11/2021   46     REPLY in Support by JACOB ANTHONY CHANSLEY re 43 MOTION for
                    Hearing, 40 MOTION for Release from Custody (Watkins, Albert) (Entered:
                    06/11/2021)
06/11/2021   47     ORDER as to JACOB ANTHONY CHANSLEY: The parties shall file
                    supplemental briefing on defendant's motion 40 for pre−trial release to address
                    the issue of defendant's risk of flight. Defendant's supplemental brief due by
                    6/16/2021. Government's response due by 6/21/2021. Defendant's reply due by
                    6/24/2021. Signed by Judge Royce C. Lamberth on 6/11/2021. (lcrcl3)
                    (Entered: 06/11/2021)
06/15/2021   48     SUPPLEMENT by JACOB ANTHONY CHANSLEY re 47 Order,, Set
                    Deadlines, (Watkins, Albert) (Entered: 06/15/2021)
06/16/2021   49     STATUS REPORT by USA as to JACOB ANTHONY CHANSLEY (Paschall,
                    Kimberly) (Entered: 06/16/2021)
06/21/2021   50     SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL
                    filed by USA as to JACOB ANTHONY CHANSLEY. (This document is
                    SEALED and only available to authorized persons.) (Attachments: # 1
                    Memorandum in Support Supplement to Opposition to Bond Review, # 2
                    Exhibit Exhibit 1, # 3 Exhibit Exhibit 2)(Paschall, Kimberly) (Entered:
                    06/21/2021)
06/22/2021   51     REPLY re 48 SUPPLEMENT by JACOB ANTHONY CHANSLEY re 44
                    Memorandum in Opposition (Watkins, Albert) Modified event title on
                    6/24/2021 (znmw). (Entered: 06/22/2021)
06/23/2021   52     ORDER granting in part and denying in part 50 Sealed Motion for Leave to
                    File Document Under Seal (This document is SEALED and only available to
                    authorized persons.) as to JACOB ANTHONY CHANSLEY (1). ECF No.
                    50−3 shall remain SEALED. The Clerk of Court shall UNSEAL ECF Nos. 50,
                    50−1 & 50−2. Signed by Judge Royce C. Lamberth on 6/23/2021. (lcrcl3)
                    (Entered: 06/23/2021)
06/26/2021   53     STATUS REPORT by USA as to JACOB ANTHONY CHANSLEY (Paschall,
                    Kimberly) (Entered: 06/26/2021)
06/29/2021          MINUTE ORDER as to JACOB ANTHONY CHANSLEY: A hearing on
                    defendant's motion 40 for release from custody is hereby set for 6/30/2021 at
                    03:00 PM EST in Telephonic/VTC before Judge Royce C. Lamberth. Pursuant
                    to Standing Order 20−20 (BAH), the Court will provide public access via
                    telephone to the hearing. It is hereby ORDERED that the participants using the
                    public access telephone line shall adhere to the rules set forth in Standing
                    Order 20−20 (BAH), available on the Court's website. Toll Free Number:
                    888−636−3807; Access Code: 6967853. Signed by Judge Royce C. Lamberth
                    on 6/29/2021. (lcrcl3) (Entered: 06/29/2021)
06/29/2021   54     MOTION to Dismiss Count Two by JACOB ANTHONY CHANSLEY.
                    (Attachments: # 1 Memorandum in Support, # 2 Exhibit)(Watkins, Albert)
                    (Entered: 06/29/2021)
06/29/2021   55     MOTION for Bill of Particulars by JACOB ANTHONY CHANSLEY.
                    (Watkins, Albert) (Entered: 06/29/2021)
06/30/2021

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                    Minute Entry for video Motion Hearing held before Judge Royce C. Lamberth
                    as to JACOB ANTHONY CHANSLEY on 6/30/2021. Oral arguments
                    submitted on Defendant's Motion 40 for Release from Custody and Motion 43
                    to Reopen Detention Hearing. Motions taken under advisement; forthcoming
                    Order. Bond Status of Defendant: remains committed. Court Reporter: Lisa
                    Bankins. Defense Attorney: Albert Watkins; US Attorney: James Nelson
                    (stand−in for Kimberly Louise Paschall); Pretrial Officer: Christine Schuck.
                    (lsj) (Entered: 06/30/2021)
07/06/2021   56     MEMORANDUM OPINION as to JACOB ANTHONY CHANSLEY. Signed
                    by Judge Royce C. Lamberth on 7/6/2021. (lcrcl3) (Entered: 07/06/2021)
07/06/2021   57     ORDER denying 40 Motion to Reopen Detention Hearing and for Release
                    from Custody as to JACOB ANTHONY CHANSLEY. Signed by Judge Royce
                    C. Lamberth on 7/6/2021. (lcrcl3) (Entered: 07/06/2021)
07/06/2021   58     MOTION to Compel by JACOB ANTHONY CHANSLEY. (Attachments: # 1
                    Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6
                    Exhibit F)(Watkins, Albert) (Entered: 07/06/2021)
07/06/2021   59     Draft Transcript RE: Motions Hearing on 6/30/2021 by JACOB ANTHONY
                    CHANSLEY. "Let this be filed" by Judge Royce C. Lamberth on 7/6/2021.
                    (bb) (Entered: 07/06/2021)
07/06/2021   60     STATUS REPORT by USA as to JACOB ANTHONY CHANSLEY (Paschall,
                    Kimberly) (Entered: 07/06/2021)
07/12/2021   61     Consent MOTION for Extension of Time to File Response/Reply as to 58
                    MOTION to Compel , 55 MOTION for Bill of Particulars , 54 MOTION to
                    Dismiss Count Two by USA as to JACOB ANTHONY CHANSLEY.
                    (Paschall, Kimberly) (Entered: 07/12/2021)
07/12/2021   62     NOTICE Regarding Discovery by USA as to JACOB ANTHONY
                    CHANSLEY (Attachments: # 1 Exhibit Discovery Request
                    Examples)(Paschall, Kimberly) (Entered: 07/12/2021)
07/13/2021   63     Memorandum in Opposition by USA as to JACOB ANTHONY CHANSLEY
                    re 54 MOTION to Dismiss Count Two (Paschall, Kimberly) (Entered:
                    07/13/2021)
07/13/2021   64     Memorandum in Opposition by USA as to JACOB ANTHONY CHANSLEY
                    re 55 MOTION for Bill of Particulars (Paschall, Kimberly) (Entered:
                    07/13/2021)
07/15/2021   66     MOTION for Leave to File Motion Under Seal by JACOB ANTHONY
                    CHANSLEY. (Watkins, Albert) (Entered: 07/15/2021)
07/16/2021          MINUTE ORDER granting 66 Motion for Leave to File Motion Under Seal as
                    to JACOB ANTHONY CHANSLEY (1). Defendant's Sealed Motion 67 and
                    the exhibits thereto shall remain SEALED. Signed by Judge Royce C.
                    Lamberth on 7/16/2021. (lcrcl3) (Entered: 07/16/2021)
09/02/2021          MINUTE ORDER as to JACOB ANTHONY CHANSLEY: Plea Agreement
                    Hearing set for 9/3/2021 at 11:00 AM (EST) before Judge Royce C. Lamberth.
                    The hearing will proceed by videoconference for the parties and by telephone
                    for members of the public. Pursuant to Standing Order 20−20 (BAH), the


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                    Court will provide public access to the Plea Agreement Hearing. It is hereby
                    ORDERED that the participants using the public access telephone line shall
                    adhere to the rules set forth in the Standing Order, available on the Court's
                    website. Toll Free Number: 888−636−3807; Access Code: 6967853. Signed by
                    Judge Royce C. Lamberth on 09/02/2021. (lcrcl3) (Entered: 09/02/2021)
09/03/2021          Minute Entry for video Plea Agreement Hearing held before Judge Royce C.
                    Lamberth as to JACOB ANTHONY CHANSLEY on 9/3/2021. The Court
                    makes a finding that the Defendant is competent to stand trial, for reasons
                    stated on the record. Defendant sworn and enters a Plea of Guilty as to Count 2
                    of the Indictment. The Court accepts the plea and the Defendant is found
                    Guilty. Presentence investigation report ordered. Sentencing Memorandum due
                    by 11/10/2021. Sentencing set for 11/17/2021 at 10:00 AM in Courtroom 15
                    (in person) before Judge Royce C. Lamberth. Defendant's Sealed Motion 67 is
                    taken under advisement; forthcoming order. Bond Status of Defendant: remains
                    committed. Court Reporter: Nancy Meyer; Defense Attorney: Albert S.
                    Watkins; US Attorney: Kimberly Louise Paschall. (lsj) (Entered: 09/03/2021)
09/03/2021   69     PLEA AGREEMENT as to JACOB ANTHONY CHANSLEY. "Let this be
                    filed. Royce C. Lamberth, U.S.D.J. on 9/3/21." (lsj) (Entered: 09/03/2021)
09/03/2021   70     STATEMENT OF OFFENSE IN SUPPORT OF GUILTY PLEA by USA and
                    JACOB ANTHONY CHANSLEY. "Let this be filed. Royce C. Lamberth,
                    U.S.D.J. on 9/3/21." (lsj) (Entered: 09/03/2021)
09/03/2021   71     WAIVER of Trial by Jury as to JACOB ANTHONY CHANSLEY. Approved
                    by Judge Royce C. Lamberth on 9/3/2021. (lsj) (Entered: 09/03/2021)
09/10/2021   73     NOTICE by JACOB ANTHONY CHANSLEY (Watkins, Albert) (Entered:
                    09/10/2021)
09/10/2021   74     MEMORANDUM OPINION AND ORDER as to JACOB ANTHONY
                    CHANSLEY denying Defendant's Motion 67 for Release. SEE
                    MEMORANDUM OPINION AND ORDER FOR FULL DETAILS. Signed
                    and unsealed by Judge Royce C. Lamberth on 9/10/21. (lsj) (Entered:
                    09/10/2021)
09/17/2021   75     NOTICE of Discovery by USA as to JACOB ANTHONY CHANSLEY
                    (Paschall, Kimberly) (Entered: 09/17/2021)
09/17/2021   76     NOTICE of Discovery by USA as to JACOB ANTHONY CHANSLEY
                    (Paschall, Kimberly) (Entered: 09/17/2021)
10/25/2021   78     NOTICE of Discovery Status by USA as to JACOB ANTHONY CHANSLEY
                    (Paschall, Kimberly) (Entered: 10/25/2021)
11/05/2021   79     NOTICE of Discovery Status by USA as to JACOB ANTHONY CHANSLEY
                    (Paschall, Kimberly) (Entered: 11/05/2021)
11/09/2021   80     SENTENCING MEMORANDUM by JACOB ANTHONY CHANSLEY
                    (Watkins, Albert) (Entered: 11/09/2021)
11/09/2021   81     SENTENCING MEMORANDUM by USA as to JACOB ANTHONY
                    CHANSLEY (Paschall, Kimberly) (Entered: 11/09/2021)
11/10/2021   84


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                    MOTION for Leave to File by JACOB ANTHONY CHANSLEY. (Watkins,
                    Albert) (Entered: 11/10/2021)
11/12/2021          MINUTE ORDER granting 84 Motion for Leave to File as to JACOB
                    ANTHONY CHANSLEY (1). Signed by Judge Royce C. Lamberth on
                    11/12/2021. (lcrcl3) (Entered: 11/12/2021)
11/15/2021   86     NOTICE of Video Sentencing Exhibits by USA as to JACOB ANTHONY
                    CHANSLEY (Paschall, Kimberly) (Entered: 11/15/2021)
11/15/2021   87     MOTION for Leave to File Under Seal by JACOB ANTHONY CHANSLEY.
                    (Watkins, Albert) (Entered: 11/15/2021)
11/15/2021          MINUTE ORDER granting 87 Motion for Leave to File as to JACOB
                    ANTHONY CHANSLEY (1). Signed by Judge Royce C. Lamberth on
                    11/15/2021. (lcrcl3) (Entered: 11/15/2021)
11/16/2021          NOTICE: The 11/17/2021 sentencing for JACOB ANTHONY CHANSLEY
                    will be accessible via the public access telephone number available on the
                    Court's website. Toll Free Number: 888−636−3807; Access Code: 6967853.
                    The Court will also provide an overflow courtroom for in−person attendees in
                    Courtroom 27a.(lcrcl3) (Entered: 11/16/2021)
11/17/2021          Minute Entry for Sentencing held before Judge Royce C. Lamberth on
                    11/17/2021 as to JACOB ANTHONY CHANSLEY. It is the judgment of the
                    Court that the Defendant is hereby sentenced to the custody of the Bureau of
                    Prisons for a term of 41 months with credit for time served, as to Count 2 of the
                    Indictment. The Defendant is further sentenced to serve a 36 month term of
                    supervised release. The Defendant is ordered to pay a $100 special assessment.
                    The Government's oral motion to dismiss the remaining counts (1 and 3−6) of
                    the Indictment is GRANTED. Bond Status of Defendant: remains committed.
                    Court Reporter: Sara Wick; Defense Attorney: Albert S. Watkins; US
                    Attorney: Kimberly Louise Paschall; Prob Officer: Crystal Lustig. (lsj)
                    (Entered: 11/17/2021)
11/17/2021   92     JUDGMENT as to JACOB ANTHONY CHANSLEY. Statement of Reasons
                    Not Included. Signed by Judge Royce C. Lamberth on 11/17/2021. (bb)
                    (Entered: 11/18/2021)
11/17/2021   93     STATEMENT OF REASONS as to JACOB ANTHONY CHANSLEY re 92
                    Judgment Access to the PDF Document is restricted per Judicial Conference
                    Policy. Access is limited to Counsel of Record and the Court. Signed by Judge
                    Royce C. Lamberth on 11/17/2021. (bb) (Entered: 11/18/2021)
11/22/2021   94     NOTICE OF ATTORNEY APPEARANCE: John M. Pierce appearing for
                    JACOB ANTHONY CHANSLEY (Pierce, John) (Entered: 11/22/2021)
11/24/2021   95     MOTION for Leave to File Under Seal by JACOB ANTHONY CHANSLEY.
                    (Watkins, Albert) (Entered: 11/24/2021)
11/24/2021          MINUTE ORDER granting 95 Motion for Leave to File as to JACOB
                    ANTHONY CHANSLEY (1). Signed by Judge Royce C. Lamberth on
                    11/24/2021. (lcrcl3) (Entered: 11/24/2021)
11/24/2021   97     MOTION for Leave to File Under Seal by JACOB ANTHONY CHANSLEY.
                    (Watkins, Albert) (Entered: 11/24/2021)


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11/24/2021          MINUTE ORDER granting 97 Motion for Leave to File as to JACOB
                    ANTHONY CHANSLEY (1). Signed by Judge Royce C. Lamberth on
                    11/24/2021. (lcrcl3) (Entered: 11/24/2021)
11/24/2021   100    ORDER as to JACOB ANTHONY CHANSLEY: Status Conference set for
                    11/29/2021 at 02:00 PM. A courtroom will be determined at a later date.
                    Signed by Judge Royce C. Lamberth on 11/24/2021. (lcrcl3) (Entered:
                    11/24/2021)
11/26/2021   101    MOTION for Leave to Appear Pro Hac Vice William L. Shipley Filing fee $
                    100, receipt number ADCDC−8890581. Fee Status: Fee Paid. by JACOB
                    ANTHONY CHANSLEY. (Pierce, John) (Entered: 11/26/2021)
11/26/2021   102    MOTION TO ALLOW THE DEFENDANT'S COUNSEL TO PARTICIPATE
                    VIA ZOOM re 100 Order, Set Hearings by JACOB ANTHONY CHANSLEY.
                    (Pierce, John) (Entered: 11/26/2021)
11/27/2021          MINUTE ORDER: Defense counsel's 102 Motion to Appear by VTC is
                    GRANTED. Signed by Judge Royce C. Lamberth on 11/27/2021. (lcrcl3)
                    (Entered: 11/27/2021)
11/29/2021          NOTICE OF COURTROOM CHANGE: Status Conference set for 11/29/2021
                    at 02:00 PM in Courtroom 16 before Judge Royce C. Lamberth. (lcrcl3)
                    (Entered: 11/29/2021)
11/29/2021          Minute Entry for proceedings held before Judge Royce C. Lamberth: Status
                    Conference as to JACOB ANTHONY CHANSLEY held on 11/29/2021. Oral
                    Motion by Albert S. Watkins to withdraw as counsel as to JACOB ANTHONY
                    CHANSLEY was heard and GRANTED. Bond Status of Defendant: remains
                    committed; Court Reporter: Elizabeth Saint−Loth; Defense Attorneys: Albert
                    S. Watkins, John M. Pierce, and William L. Shipley; US Attorney: Kimberly
                    Louise Paschall. (zjd) (Entered: 11/29/2021)
11/29/2021   104    ORDER as to JACOB ANTHONY CHANSLEY re 101 Motion for Leave to
                    Appear Pro Hac Vice. Defendant is ordered to supplement the motion with
                    additional information. Signed by Judge Royce C. Lamberth on 11/29/2021.
                    (lcrcl3) (Entered: 11/29/2021)
11/30/2021   105    ENTERED IN ERROR.....NOTICE of Appeal by JACOB ANTHONY
                    CHANSLEY (Pierce, John) Modified on 11/30/2021 (bb). (Entered:
                    11/30/2021)
11/30/2021          MINUTE ORDER granting 103 Sealed Motion for Leave to File Document
                    Under Seal as to JACOB ANTHONY CHANSLEY. Signed by Judge Royce C.
                    Lamberth on 11/30/2021. (lcrcl3) (Entered: 11/30/2021)
11/30/2021          MINUTE ORDER granting 99 Sealed Motion for Leave to File Document
                    Under Seal as to JACOB ANTHONY CHANSLEY (1). Signed by Judge
                    Royce C. Lamberth on 11/30/2021. (lcrcl3) (Entered: 11/30/2021)
11/30/2021          NOTICE OF CORRECTED DOCKET ENTRY: as to JACOB ANTHONY
                    CHANSLEY re 105 Notice (Other) was entered in error and counsel was
                    instructed to refile said pleading. This document was filed using the wrong
                    event. Please refile using the event Notice of Appeal−Final Judgment. (bb)
                    (Entered: 11/30/2021)


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11/30/2021   108    NOTICE OF APPEAL − Final Judgment by JACOB ANTHONY
                    CHANSLEY re 92 Judgment. Filing fee $ 505, receipt number
                    ADCDC−8897235. Fee Status: Fee Paid. Parties have been notified. (Pierce,
                    John) (Entered: 11/30/2021)




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                             UNITED STATES DISTRICT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )       Case No. 21-cr-003 (RCL)
                                       )
JACOB CHANSLEY,                        )
                                       )
      Defendant.                       )


                              NOTICE OF APPEAL

      Pursuant to Federal Rule of Appellate Procedure 4(b), notice is hereby given

that Defendant Jacob Chansley, hereby appeals to the United States Court of Appeals

for the District of Columbia Circuit from the Judgment and Sentence issued by the

United States District Court for the District of Columbia.



Date: November 30, 2021                        Respectfully Submitted,



                                      John M. Pierce
                                      355 S. Grand Avenue, 44th Floor
                                      Los Angeles, CA 90071
                                      Tel: (213) 400-0725
                                      Email: jpierce@piercebainbridge.com

                                      Attorney for Defendant Jacob Chansley




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                               CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, November 30, 2021, I caused a copy of

the foregoing document to be served on all counsel through the Court’s CM/ECF case filing

system.



                                            /s/ John M. Pierce
                                           John M. Pierce




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